       Case 1:15-cv-07433-LAP Document 1219-2 Filed 07/15/21 Page 1 of 4




                                  United States District Court
                                 Southern District of New York
Virginia L. Giuffre,

               Plaintiff,                     Case No.: 15-cv-07433-RWS

v.

Ghislaine Maxwell,

               Defendant.

____________________________/


         DECLARATION OF MEREDITH SCHULTZ IN SUPPORT OF
   PLAINTIFF’S MOTION TO COMPEL THE PRODUCTION OF DOCUMENTS
 SUBJECT TO IMPROPER OBJECTION AND IMPROPER CLAIMS OF PRIVILEGE

         I, Meredith L. Schultz, declare that the below is true and correct to the best of my

knowledge as follows:

       1.      I am a associate with the law firm of Boies, Schiller & Flexner LLP and duly

licensed to practice in Florida and before this Court pursuant to this Court’s March 28, 2016

Order granting my Application to Appear Pro Hac Vice.

       2.      I respectfully submit this Declaration in Support of Plaintiff’s Motion to Compel

the Production of Documents Subject to Improper Objection and Improper Claims of Privilege.

       3.      Attached hereto as Sealed Exhibit 1 is a true and correct copy of June 8, 2016,

Correspondence to Jeff Pagliuca.

       4.      Attached hereto as Sealed Exhibit 2 is a true and correct copy of June 13, 2016,

Correspondence to Laura Menninger.

         5.    Attached hereto as Sealed Composite Exhibit 3 are true and correct copies of July

 18, 2016 and July 21, 2016, Correspondence from Paul Cassell to Ty Gee.

         6.    Attached hereto Exhibit 4 is a true and correct copy of Defendant’s Third

 Amended Privilege Log.
      Case 1:15-cv-07433-LAP Document 1219-2 Filed 07/15/21 Page 2 of 4




       7.    Attached hereto as Sealed Exhibit 5 is a true and correct copy of the April 15,

2016, Sealed Order Granting in Part Plaintiff’s Motion to Compel for Improper Claim of

Privilege.



             I declare under penalty of perjury that the foregoing is true and correct.



                                            /s/ Meredith L. Schultz______________
                                            Meredith L. Schultz, Esq.
        Case 1:15-cv-07433-LAP Document 1219-2 Filed 07/15/21 Page 3 of 4




Dated: August 9, 2016.

                                                Respectfully Submitted,

                                                BOIES, SCHILLER & FLEXNER LLP

                                            By: /s/ Meredith Schultz
                                                 Meredith Schultz (Pro Hac Vice)
                                                 Meredith Schultz (Pro Hac Vice)
                                                 Boies Schiller & Flexner LLP
                                                 401 E. Las Olas Blvd., Suite 1200
                                                 Ft. Lauderdale, FL 33301
                                                 (954) 356-0011

                                                 David Boies
                                                 Boies Schiller & Flexner LLP
                                                 333 Main Street
                                                 Armonk, NY 10504

                                                 Bradley J. Edwards (Pro Hac Vice)
                                                 FARMER, JAFFE, WEISSING,
                                                 EDWARDS, FISTOS & LEHRMAN, P.L.
                                                 425 North Andrews Avenue, Suite 2
                                                 Fort Lauderdale, Florida 33301
                                                  (954) 524-2820

                                                 Paul G. Cassell (Pro Hac Vice)
                                                 S.J. Quinney College of Law
                                                 University of Utah
                                                 383 University St.
                                                 Salt Lake City, UT 84112
                                                 (801) 585-52021




1
 This daytime business address is provided for identification and correspondence purposes only and is
not intended to imply institutional endorsement by the University of Utah for this private representation.


                                                    3
       Case 1:15-cv-07433-LAP Document 1219-2 Filed 07/15/21 Page 4 of 4




                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on the 9th day of August, 2016, I electronically filed the

foregoing document with the Clerk of Court by using the CM/ECF system. I also certify that the

foregoing document is being served to all parties of record via transmission of the Electronic

Court Filing System generated by CM/ECF.

       Laura A. Menninger, Esq.
       Jeffrey Pagliuca, Esq.
       HADDON, MORGAN & FOREMAN, P.C.
       150 East 10th Avenue
       Denver, Colorado 80203
       Tel: (303) 831-7364
       Fax: (303) 832-2628
       Email: lmenninger@hmflaw.com
               jpagliuca@hmflaw.com



                                                     /s/ Meredith L. Schultz
                                                         Meredith L. Schultz




                                                4
